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 6

 7
                        UNITED STATES DISTRICT COURT
 8
                      SOUTHERN DISTRICT OF CALIFORNIA
 9
     KATHRYN KAILIKOLE, an                   Case No. 3:18-cv-02877-AJB-MSB
10   individual;
                                             [Previously San Diego Su_perior Court
11                          Plaintiff,       Case No. 37-2018-00058754-CU-WT-
            vs.                              NC]
12
     PALOMAR COMMUNITY COLLEGE FIRST AMENDED COMPLAINT
13   DISTRICT, a governmental entity; and FOR:
     DOES 1 through 25, inclusive;
14
                                             (I) RETALIATION IN VIOLATION
15                    Defendants.                OF 20 U.S.C. § 1681 et. seq.
16                                           (2)RETALIATION IN VIOLATION
                                                OF 42 U.S.C. § 2000d et seq.
17
                                             (3)RETALIATION IN VIOLATION
18                                              OF GOVERNMENT CODE §
                                                12940(h)
19
                                             (4) DISABILITY DISCRIMINATION
20                                               IN VIOLATION OF
                                                 GOVERNMENT CODE§ 12940(a)
21
                                             (5)FAILURE TO ACCOMMODATE
22                                              DISABILITY IN VIOLATION OF
                                                GOVERNMENT CODE §
23                                              12940(m)
24                                           (6)FAILURE TO ENGAGE IN THE
                                                INTERACTION PROCESS IN
25                                              VIOLATION OF GOVERNMENT
                                                CODE § 12940(n)
26
                                             (7)RETALIATION IN VIOLATION
27                                              OF LABOR CODE§ 1102.5
28

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            Plaintiff Dr. Kathryn Kailikole ("Dr. Kailikole" or "Plaintiff') hereby alleges
  2   the following First Amended Complaint against defendant Palomar Community
  3   College District ("Defendant" or the "District") as follows:
  4                                     INTRODUCTION
  5          1.    Plaintiff was the Dean of Mathematics and the Natural and Heath
  6   Sciences Division ("MNHS") for Palomar College which is a public community
  7   college.
  8         2.     This case concerns the District's campaign to discredit, discriminate
  9 against, embarrass, and retaliate against Plaintiff through the adverse employment
 10 actions of placing Plaintiff on involuntary leave, non-renewing her contract and

 11 ultimately terminating her employment. Each of Plaintiffs claims arise out of these
 12 adverse employment actions which were taken by the District to retaliate against

 13   Plaintiff for complaining about racist and sexually harassing conduct by two
 14   professors, to discriminate against Plaintiff on the basis of her mental health disability
 15 and to avoid accommodating her disability.

 16         3.     Plaintiff was first employed by the District as the Interim Dean of the
 17   MNHS Division in January 2016. Pursuant to a new employment agreement with an
 18   effective date of Aprilll, 2017 and with a two-year term to start on July 1, 2017,
 19   Plaintiff was officially named to the role Dean of the MNHS due to her excellent
 20   performance as an administrator, her leadership in managing the faculty, her
 21   uncompromising commitment to the well-being of students and her ability to raise
 22   funds for the College.
 23         4.     On or about May 5, 2017, Plaintiff needed to leave a meeting because
 24   she believed she was having a heart attack. It turned out that Plaintiff was not having
 25   a heart attack but was having a panic attack. Plaintiff was diagnosed with anxiety
 26   which limits her in her major life activities. Plaintiff's anxiety causes her to suffer
 27   feelings of being overwhelmed, helpless and nervous and also causes her to suffer
 28

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      vertigo and cysts. Plaintiff informed Dr. Jack Kahn, the Vice-President of
  2   Instruction, that she suffered from anxiety.
  3         5.     Also in May 2017, Plaintiff received a report from a faculty member, Dr.
  4 Daniel Finkenthal, that two tenured professors in the Physics and Engineering

  5 Department, Takashi Nakajima ("Nakajima") and Arthur Gerwig ("Gerwig") were
  6 engaged in racist and sexually harassing conduct. The incident was reported to Dr.

  7   Finkenthal by a student who was afraid to file the complaint on his or her own behalf
  8 for fear of retaliation by Nakajima or Gerwig. Nakajima's and Gerwig's conduct

  9 included posting, or allowing to be posted, racist and sexually explicit messages in
 10   the physics lab. The postings included, among other things, a written mnemonic that
 11   referenced "black boys" raping girls, a racist word play on a Hispanic student's name,
 12 a post referring to "#blackcock slut" and a sexually explicit drawing of a female

 13   student.
 14         6.     Plaintiff was an academic dean responsible for planning, organizing,
 15 administering, developing and evaluating the instructional programs, projects and

 16 activities of her division. Plaintiff is not a lawyer, compliance officer or human

 17 resources professional. Thus, Plaintiff was not responsible for ensuring compliance

 18   with relevant anti-discrimination laws, regulations and policies, which is the
 19   responsibility of the Human Resources Department, Office of Student Affairs and
 20   Equal Opportunity and Compliance Office ("EEO Office"). Accordingly, when·
 21   Plaintiff learned about Nakajima's and Gerwig's shocking conduct, she immediately
 22 reported it to Shawna Cohen, the District's Manager of the Equal Opportunity and
 23   Compliance and Deputy Title IX Coordinator. Plaintiff made the complaint about
 24   Nakajima and Gerwig to Ms. Cohen on or about May 31, 2017.
 25         7.     Plaintiff reported Nakajima's and Gerwig's discriminatory and harassing
 26   conduct so she could advocate for students, student assistants and faculty who she
 27   believes have a right to an environment free from racism and sexual harassment.
 28   Plaintiff had no control over the investigation or any potential remedial action by the

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  1   District, all of which are the responsibility of the EEO Office and Human Resources
  2 Department.
  3         8.     After the District's Title IX officials reviewed the postings in the physics
  4 lab, the District began an investigation of Nakajima and Gerwig. The District's

  5 investigation ofNakajima's and Gerwig's racist and sexually harassing conduct
  6 lasted from about July 2017 until November 2017. Plaintiff was interviewed as a

  7 witness in the investigation.

  8         9.     On November 1, 2017, the District's investigator concluded that Plaintiff
  9 and Dr. Finkenthal were credible, and that Nakajima and Gerwig were guilty of

 10 violating the College's anti-harassment policies by either allowing the postings or
 11   even making the postings themselves, as well as other misconduct. The investigator
 12   also concluded that Nakajima and Gerwig lied to the investigator about their
 13 involvement with the postings.
 14         10.   Towards the end ofNovember 2017, Plaintiff met with Dr. Lisa
 15   Norman, who was the newly appointed Assistant Superintendent/Vice President,
 16   Human Resources, to discuss Nakajima and Gerwig. Plaintiff suggested that in light
 17 ofNakajima's and Gerwig's openly racist and sexually harassing conduct, that they
 18   should be terminated. Dr. Norman indicated that the District would not terminate
 19   Nakajima and Gerwig because the offense did not merit harming their careers and
 20   damaging their livelihood. Plaintiff was disappointed with Dr. Norman's apparent
 21   indifference to ensuring an environment free of discrimination and harassment.
 22         11.   On December 4, 2017, Plaintiff met with Dr. Jack Khan to discuss her
 23 job duties. In the meeting, Plaintiff discussed her anxiety with Dr. Khan and
 24   expressed concern about her overwhelming workload, which included duties that are
 25   not typically part ofthe Dean'sjob. Dr. Kahn assured Plaintiffthat she was an
 26   "incredibly valuable member of the team" and that he was dedicated to providing her
 27 with his "complete support." In other words, Dr. Kahn acknowledged that Plaintiff
 28   suffered from a disability and indicated that the District would accommodate it.

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            12.    On or about December 12, 2017, the District placed Nakajima and
  2 Gerwig on one month of unpaid leave. It was clear from the District's toothless

  3 response to the overtly racist and sexist conduct in the classroom by professors with a
  4   history of discriminatory conduct that the District's goal was not to protect students,
  5 but rather to avoid the appearance of anything out of the ordinary involving Nakajima
  6 and Gerwig. Plaintiff was shocked by the District's disregard for the well-being of

  7   the students by failing to take appropriate action against Nakajima and Gerwig.
  8         13.    On December 14, 2017, Plaintiff was mysteriously and suddenly placed
  9 on paid leave. The decision to place Plaintiff on paid leave was barely a week after

 10 Dr. Kahn pledged to accommodate her medical condition and within two days of the

 11   District's failure to impose appropriate discipline on Nakajima and Gerwig for the
 12 overtly racist and sexually harassing conduct reported by Plaintiff.

 13         14.     When Plaintiff was placed on paid leave, she was escorted off campus
 14 like a criminal, locked out of her office, cut off from her e-mail, relieved of all of her

 15 duties in overseeing her Division and instructed not to speak to anyone at the college.

 16   Plaintiff was not given any information about why she was suddenly removed from
 17 the campus except that she was told it allegedly had to do with an investigation of a

 18   purported "confidentiality" issue. Plaintiff was shocked and confused by the
 19   District's action, especially given its earlier refusal to place Nakajima and Gerwig on
 20   paid leave when they were caught red-handed engaging in racist and sexually
 21   harassing conduct.
 22         15.    The District left Plaintiff on paid leave for 5 months without ever
 23   informing her of the specific nature of the charges against her. No mention was made
 24 to Plaintiff about any alleged job performance issues. During that time, Plaintiff was
 25   forbidden from checking in with her faculty, her staff or students and had no idea
 26 what was being said about her on campus, although she did receive an unsolicited
 27   message from a faculty member informing her that the District was telling faculty
 28   members that Plaintiff was on medical leave, which was false.

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             16.   In January 2018, Dr. Kailikole hired an attorney and throughout January
  2   and February of 2018 made repeated attempts to obtain further information about
  3 why she was placed on leave. However, the District refused to provide any

  4   substantive information. The only thing the District would disclose to Dr. Kailikole
  5 was that the investigation originated in the Physics and Engineering Department.
  6 When provided with this information, Dr. Kailikole informed the District that she

  7 believed the decision to suddenly place her on leave and investigate her was in

  8 retaliation for reporting Nakajima and Gerwig's misconduct.
  9          17.   On February 27, 2018, while she was still on paid leave, and less than a
 10 week after she expressed her belief that the decision to place her on leave was

 11   retaliatory, the District decided not to renew Plaintiff's contract. The District did not
 12   provide Plaintiff with a reason for the decision not to renew her contract.
 13          18.   On February 28,2018, the day after her contract was non-renewed
 14 without explanation (and prior to any investigation concluding), Plaintiff was

 15   interviewed by the District's investigator about, among other things, an incident
 16 where Nakajima and Gerwig used an airsoft gun in the classroom. When that
 17   incident happened, in April 20 16, Plaintiff reported it to the Campus Police, which is
 18   is respon conducted and completed an investigation into the matter and concluded
 19 that the gun should not have been used without prior approval by the police.

 20   Although Nakajima and Gerwig used the gun for at least the two previous years (i.e.,
 21   before Plaintiff arrived on campus), Plaintiff was the first, and only, administrator to
 22   ever do anything about it. After the Campus Police confirmed that approval was
 23   required, Plaintiff directed Nakajima and Gerwig not to use the gun again without
 24 prior approval from the police.

 25         19.    The airsoft gun incident was mentioned to Plaintiff by Dr. Lisa Nonnan,
 26 the Assistant Superintendent/Vice President, Human Resources, in the fall of 2017,
 27   after Plaintiff described it to the investigator in connection with the investigation of
 28 the racially and sexually harassing conduct by Nakajima and Gerwig. During that

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      time, Dr. Norman also advised Plaintiff that she or Dr. Finkenthal, who was now the
  2   Chair of the Physics and Engineering Department, should observe Nakajima and
  3   Gerwig to determine if they were violating any rules. Accordingly, Plaintiff
  4 contacted Dr. Finkenthal to tell him about the incident with the airsoft gun and to

  5 make sure it was not being used any more. Dr. Finkenthal said he did not think a gun
  6   was being used and requested further information so he could check on it.
  7   Accordingly, on or about December 8, 2017, Plaintiff forwarded Dr. Finkenthal an e-
  8   mail about the airsoft gun incident. Plaintiff is informed and believes that Dr.
  9 Norman reviewed this e-mail as part of a search of Dr. Kailikole's e-mails that was

 10   done without Dr. Kailikole's consent and as part of an effort by the District to look
 11   for information to discredit Dr. Kailikole after she reported Nakajima's and Gerwig's
 12 racist and sexist behavior.

 13         20.    Plaintiff's obvious, and only, purpose in forwarding the e-mail about the
 14 airsoft gun incident to Dr. Finkenthal was so that Dr. Finkenthal could confirm

 15   Nakajima and Gerwig were following Plaintiffs prior directive not to use the gun any
 16   more. Advising Dr. Finkenthai of the prior incident with the airsoft gun was entirely
 17   proper and also consistent with the recommendation by Dr. Norman that Dr.
 18   Kailikole involve Dr. Finkenthal in her oversight ofNakajima and Gerwig.
 19         21.    When the District's investigator interviewed Plaintiff about the alleged
 20   "confidentiality" issue, he asked her if she ever agreed with Dr. Finkenthal that he
 21   would provide information about the airsoft gun incident to any other person.
 22   Plaintiff informed the investigator that she never had any agreement with Dr.
 23   Finkenthal to provide the information to anyone else. The investigator also asked
 24   Plaintiff if Dr. Finkenthal ever indicated to her that he intended to provide the
 25   information about the airsoft gun incident to his wife or members of the District's
 26   governing Board or "anything like that." Plaintiff informed the investigator that Dr.
 27 Finkenthal never indicated to her that he planned to provide the information to
 28 anyone else.


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             22.   On or about March 4, 2018, while she was still on paid leave without
  2   explanation, Plaintiff received another unsolicited message from a faculty member
  3   informing her that the faculty member was told by Dr. Kahn, that Dr. Kailikole would
  4 not be returning. Plaintiff was disturbed by the fact that faculty members were being
  5 told she was not returning, particularly when the investigation of the alleged

  6   "confidentiality" issue was pending, and she had received no information about the
  7 status of her employment.
  8         23.    On May 2, 2018, nearly two months after it began telling faculty
  9   members that Plaintiff was not returning, Plaintiff received a letter informing her that
 10 Dr. Kahn was recommending her termination.

 11         24.    One of the reasons stated for Plaintifr s termination was a purported
 12 conclusion by the District's investigator about Plaintiff's e-mail to Dr. Finkenthal

 13   regarding the airsoft gun incident. Specifically, the investigator claimed that he did
 14 not believe that Plaintiff forwarded Dr. Finkenthal the information about the airsoft

 15 gun incident for her stated, and obviously proper purpose, of advising the Chair of the

 16   Department of relevant information in connection with his oversight of two
 17 Professors who had just been found guilty of grossly improper racist and harassing

 18 conduct in the classroom. Instead, the investigator claimed to have reached the

 19 absurd conclusion that Plaintiff was actually part of a conspiracy to leak confidential

 20   information about Nakajima and Gerwig outside the College. The only ''evidence"
 21   cited in support of this alleged conspiracy is that, three days after Plaintiff forwarded
 22 the e-mail about the gun incident to Dr. Finkenthal, Dr. Finkenthal forwarded thee-

 23   mail to his wife. Of course, Plaintiff had no idea that Dr. Finkenthal forwarded thee-
 24   mail to his wife or anyone else, and she certainly did not ask him to do it. Further,
 25   the investigator does not explain why Plaintiff would try to "leak" information to Dr.
 26   Finkenthal's wife. The very idea that Dr. Finkenthal's e-mail to his wife implicates
 27   Plaintiff in some type of leaking conspiracy is nonsensical on its face. Accordingly,
 28 Plaintiff is informed and believes that alleged leak "conspiracy" was manufactured by

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      the District because it lacked any legitimate reason to non-renew and terminate
  2   Plaintiff's contract.
  3          25.    In addition to the absurd allegation that Plaintiff conspired to leak
  4 confidential information to Dr. Finkenthal's wife, the May 2, 2018 letter contains a
  5 list of alleged performance issues, none of which would constitute cause for

  6 termination and none of which were ever presented to Plaintiff as potential reasons
  7   for any type of discipline, let alone termination.
  8          26.   To add insult to injury, as an additional purported reason for the
  9 termination, the District stated Plaintiff purportedly failed to appropriately monitor
 10   Nakajima and Gerwig. This reason is false and pretextual on its face, given that
 11   Plaintiff was the first Dean to actually exercise any supervision over Nakajima and
 12 Gerwig, including reporting and complaining about their overtly racist and sexually
 13   harassing conduct to the District only to see the District willfully fail to take any real
 14 action. Plaintiff is informed and believes that the District was angry at Plaintiff for
 15   reporting the harassing conduct by Nakajima and Gerwig because it required the
 16   District to take action against tenured professors which risked raising suspicions and
 17 questions by students and faculty if they were terminated or placed on an extensive
 18 leave.
 19          27.   On June 13,2018, the District terminated Plaintiffs employment.
 20          28.   The District's adverse employment actions in placing Plaintiff on paid
 21   leave, non-renewing her contract and terminating her were all clearly made to
 22 retaliate against her for complaining about Nakajima and Gerwig's racist and

 23   sexually harassing conduct, for complaining about the retaliatory decision to place
 24   her on leave for reporting Nakajima and Gerwig, to discriminate and retaliate against
 25   Plaintiff for requesting a disability accommodation and to avoid accommodating the
 26   disability she discussed with Dr. Kahn barely a week before she was mysteriously
 27   placed on leave and subjected to a bogus investigation. Indeed, until the District was
 28   forced to deal with Plaintiff's report about the Nakajima and Gerwig and her request

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       for an accommodation for her disability, she was never given any indication that her
   2   job was in any danger and, in fact, received a stellar review and a promotion and was
   3 told that she was an "incredibly valuable member" of the administration.

   4         29.    Because of the District's discriminatory and retaliatory conduct, after
   5   exhausting her administrative remedies with the Department of Fair Employment and
   6   Housing (''DFEH"), Plaintiff brings this action for: 1) retaliation in violation of 20
   7 U.S.C. § 1681; 2) retaliation in violation of 42 U.S.C. § 2000d; 3) retaliation in

   8 violation of Government Code section 12940(h); 4) disability discrimination in

   9 violation of Government Code section 12940(a); 5) failure to accommodate disability
  10 in violation of Government Code section 12940(m); 6) failure to engage in the

  11   interactive process in violation of Government Code section 12940(n); and 7)
  12   retaliation in violation of Labor Code section 1102.5.
  13                                 JURISDICTION AND VENUE
  14         30.    This Court has personal jurisdiction over the District because the District
  15 resides in California and has subjected itself to this Court's jurisdiction by appearing

  16   in this action and removing it to this Court.
  17         31.    Venue is proper in this Court under 28 U.S.C. 139l(b) because the
  18   District resides in this District and a substantial part of the events or omissions giving
  19 rise to the claims occurred in this District.

  20                                       THE PARTIES
  21         32.    Plaintiff is an individual residing in San Diego County.
  22         33.    The District is a public entity which operates in, and has its principal
  23   place of business in, San Diego County.
  24      FACTUAL ALLEGATIONS COMMON TO ALL CAUSES OF ACTION
  25     A. Plaintiff Is Apoointed As Interim Dean.
  26         34.    On or about January 13, 2016, Daniel Sourbeer, the Dean ofthe
  27 Mathematics and the MNHS Division accepted the position of Interim Vice-President
  28 of Instruction which required the College to hire an interim Dean.

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             35.    Plaintiff was hired as interim Dean of the MNHS Department or about
   2   January 13, 2016. Plaintiff was recommended for the position by Sourbeer.
   3         36.    The term of Plaintiffs written Contract to be employed as Interim Dean
   4 was January 13,2016 through June 30,2016. The Agreement was amended on May
   5   10, 2016 so that Plaintiffs term as Interim Dean was extended from July 1, 2016
   6 through June 30, 2017. Thus, as of May 10, 2016, the administration and Board was

   7 plainly satisfied with Plaintiff's performance.

   8         37.    Pursuant to her contract, Plaintiff could only be terminated for a
   9   "material and substantial breach" of her Agreement and/or "for cause.'' Cause is
  10 defined as "actions, omissions, or behaviors which are detrimental to the operations

  11   of the District and/or its major instructional, student and administrative divisions, or
  12   which impair the District's mission purpose or objectives ... which includes, but is
  13   not limited to, unsatisfactory work performance, dishonesty, misconduct,
  14   unprofessional conduct, or insubordination."
  15     B. Plaintiff Reports Professors Najajima and Gerwig To The Campus Police
  16         For Improperly Using An Airgun In The Classroom.
  17         3 8.   Shortly after her appointment as interim Dean, on or about April 19,
  18   2016, two students advised Plaintiffs assistant, Debra McBrayer of a safety concern
  19   regarding their Physics 230 Class.
  20         39.    The students reported that Nakajima used an airsoft gun as part of a
  21   rotational inertia lab in an unsafe manner. Specifically, the students alleged that,
  22 among other things, Nakajima failed to take appropriate safety measures and stayed
  23   in the back of the room talking with Gerwig and other students while the gun was
  24 being used.
  25         40.    Immediately after receiving the report from the two students, Ms.
  26   McBrayer reported the incident to the Campus Police, which is responsible for
  27   student safety issues.
  28

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   I          41.   When Plaintiff returned to her office, she spoke with the students and
   2   Ms. McBrayer. Ms. McBrayer informed Plaintiff that she spoke with the Campus
   3 Police. Plaintiff responded by calling the Campus Police and requesting that they

   4 come to her office to speak with her.
   5          42.   At Plaintiff's request, the Campus Police conducted an investigation,
   6 including dispatching Officer So 'Oto of the Palomar Community College Police

   7 Department to meet with Plaintiff and the two students.

   8          43.   During the course of the investigation, Plaintiff provided Officer So'Oto
   9 with a copy of the District's policy on the use of weapons in the class room, which

  10 requires that such uses are approved by the Chief of Police. The students later e-
  ll   mailed Dr. Kailikole the details of their allegations as well as a video, which she
  12 provided to the Campus Police.

  13          44.   In addition to reporting the matter to the Campus Police, Plaintiff
  14 reported the incident to her supervisor, Sourbeer.

  15          45.   Officer So'Oto interviewed Nakajima as part of his investigation.
  16   Nakajima told him that he had been using the gun as part of his curriculum for two
  17 years.
  18          46.   Officer So'Oto determined that Nakajima needed to get approval from
  19   the Chief of Police if he wanted to use the gun in class. Accordingly, Plaintiff
  20   directed Nakajima to cease using the gun without first obtaining approval from the
  21   Chief of Police.
  22          47.   At the time of the gun incident, Plaintiff had only worked for the District
  23   for about three months. Thus, she was the first (and only) administrator to ever take
  24 any action on Nakajima's use of an airsoft gun in his physics lab, even though it
  25   started two years before Plaintifr s appointment as Dean. Plaintiff did not receive any
  26 further complaints about the gun after she directed Nakajima to stop using it.
  27
  28

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   1     C. The District Promotes Dr. Kaikole to Dean Of The MNHS Division.
   2         48.      On April 28, 2017, Sourbeer submitted a formal evaluation of Plaintiff's
   3 performance as Interim Dean.
   4         49.      In the review, Sourbeer stated that Plaintiff"stepped into the MNHS
   5 Interim Dean position with confidence and passion." Sourbeer further stated that

   6 Plaintiff had been "a fierce advocate for students and has taken on some difficult
   7   issues."
   8         50.      In addition, Sourbeer detennined that:
   9               • "[m]orale" was high in the division which "speaks" to Plaintiff's "ability
  10                  to work effectively with faculty and staff in her division."
  11               • Plaintiff is "an excellent communicator" and that her "contributions
  12                  toward grant writing and management have been superior."
  13               • Plaintiff has "an excellent understanding of budgets and how to use
  14                  them.
  15               • Plaintiff has "a tremendous work ethic and works to exhaustion" and that
  16                  she "wrote a funded proposal for $2m in one day."
  17               • That the "welfare" of the students is "always in [Plaintiffs] thoughts,
  18                  and she is also appreciative of the commitments and work of staff and
  19                  faculty."
  20         51.      In May 2017, Dr. Kahn was hired by the District as the Vice-President of
  21   Instruction. Rather than exercise his retreat rights, Sourbeer retired, which left open
  22   the permanent position of Dean of the MNHS Department. Due to its satisfaction
  23   with Plaintiffs performance as Interim Dean, the Board promoted Plaintiff to the
  24   position of Dean of the MNHS Department. As an academic dean, Plaintiff was
  25   responsible for planning, organizing, administering, developing and evaluating the
  26   instructional programs, projects and activities of her division.
  27         52.      Plaintiff was hired as Dean of the MNHS Department pursuant to an
  28 Employment Contract with the District dated as effective April 11, 2017 and

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   1   executed by Plaintiff on May 9, 2017. The term ofthe Employment Contract is July
   2   1, 2017 through June 30,2019. As with her prior contracts, Plaintiff could only be
   3   terminated for "a material and substantial breach of the agreement" and/or for
   4 "cause."

   5     D. Plaintiff Reports Racist And Sexually Harassing Conduct By Nakajima
   6         and Gerwig.
   7         53.     On May 5, 2017, Plaintiff needed to leave a meeting because she
   8 believed she was having a heart attack. It turned out that Plaintiff was not having a
   9 heart attack but was having a panic attack. Plaintiff was diagnosed with anxiety

  10   which limits her in her major life activities. Plaintiff's anxiety causes her to suffer
  11   feelings ofbeing overwhelmed, helpless and nervous and also causes her to suffer
  12   vertigo and cysts. Plaintiff informed Dr. Kahn, that she suffered from anxiety.
  13         54.     Also in May 2017 Dr. Finkenthal reported to Plaintiff that a student
  14 complained to him about various posters and other materials that were posted

  15   conspicuously on the walls and doors of rooms NS-249 and NS-252 in the Physics
  16   and Engineering Department. Dr. Finkenthal showed the materials to Plaintiff. NS-
  17   249 and NS-252 are rooms used by Nakajima and Gerwig.
  18         55.    On May 31, 2017, in response to the report from Dr. Finkenthal, Plaintiff
  19   reported to Shawna Cohen, Manager Equal Employment Opportunity and
  20   Compliance with the District's Deputy Title IX Coordinator, that she received the
  21   report regarding the offensive postings. The next day, a group of administrators
  22 reviewed the materials and removed them after determining that the postings violated
  23   federal, state and District nondiscrimination regulations, including Title IX.
  24         The postings included:
  25               • A recitation of a mnemonic device stating: ''Black Boys Rape Our
  26                  Young Girls But Violet Gives Willingly Get Some Now."
  27

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                   • A posting entitled ''Vogue May Edition" which portrayed a student
   2                  lying across the hood of a pickup truck holding a piece of paper with a
   3                  drawing of a penis in an enlarged and gratuitous characterization.
   4               • A posting portraying a Latino student named Juan which stated "20 17
   5                  you know you juant me?/Hello Ladies" as a racist play on the student's
   6                  name.
   7               • A sexually harassing and racist posting which stated "Dick got her like"
   8                  which was accompanied by a hashtag remark of"#black cock slut."
   9               • A derogatory posting about a female student, who is short in stature,
  10                  which stated "Jen's Height in Influence".
  11         56.     Plaintiff is informed and believes that students, student assistants
  12 employed by the District and faculty including females, Latinos and other members

  13 of minority groups, were or could be subjected to the postings.

  14         57.     Plaintiff was an academic dean. She is not a lawyer, human resources
  15 professional or compliance officer. Thus, Plaintiff was not responsible for ensuring

  16   compliance with relevant anti-discrimination laws and regulations, which is the
  17   responsibility of the Human Resources Department, Student Affairs Office and Equal
  18 Opportunity and Compliance Office ("EEO Office"). Accordingly, Plaintiff

  19   complained about Nakajima's and Gerwig's shocking conduct by reporting it to
  20   Shawna Cohen because she is the District's Manager of the Equal Opportunity and
  21   Compliance and Deputy Title IX Coordinator.
  22         58.     Plaintiff reported Nakajima's and Gerwig's discriminatory and harassing
  23   conduct so she could advocate for students, student assistants and faculty, who she
  24   believes have a right to an environment free from racism and sexual harassment.
  25   Plaintiff had no control over the investigation or any potential remedial action by the
  26   District, all of which are the responsibility of the EEO Office and Human Resources
  27   Department. Despite the seriousness of the allegations, and the facially harassing
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       content of the postings personally observed by Plaintiff and the other administrators,
   2 the District denied Plaintiff's request to place Nakajima and Gerwig on leave.

   3          59.   On June 28, 2017, nearly a month after Plaintiff reported the harassing
   4 postings to Ms. Cohen, Adrian Gonzalez, the Assistant Superintendent/Vice
   5 President, Student Services and the District's Title IX Coordinator, notified Ms.
   6 Cohen that an investigation was required.
   7          60.   Because of the outrageous nature of the conduct by Nakajima and
   8 Gerwig, and the imminent danger posed to students as a result of it, Plaintiff
   9 requested Nakajima and Gerwig be placed on paid leave and removed from the
  10 classroom while the District investigated the racist and harassing postings. The

  11   District refused this request. This decision was perplexing to Plaintiff because the
  12 District officials who reviewed the postings determined right away that they violated

  13 state   and federal anti-discrimination regulations, including Title IX.
  14          61.   The investigation ofNakajima and Gerwig was conducted by an outside
  15 attorney, Jeffrey Love. In conducting his investigation of the postings, Mr. Love

  16 interviewed Dr. Finkenthal, Plaintiff, Nakajima, Gerwig, Hector Garcia Villa, another

  17 Physics and Engineering Professor, and Susan Snow, a professor in the Mathematics

  18 Department who was also Nakajima and Gerwig's union representative.
  19          62.   On November 1, 2017, four months after Plaintiff reported the postings,
 20    Mr. Love issued a summary of his investigation. In the report, Mr. Love concluded
 21    that Nakajima and Gerwig were not credible and that their claimed unawareness of
 22 the postings was not plausible. In fact, Mr. Love concluded "clearly [Nakajima and
 23    Gerwig] were aware of these materials [and] had either displayed the items
 24 themselves or allowed and even encouraged others to do so." Mr. Love further
 25    concluded that Nakajima and Gerwig demonstrated a general attitude of indifference
 26    to following the rules of the District concerning the avoidance of sexual harassment,
 27 discrimination and maintaining a wholesome student academic environment." A
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       copy of the report, without exhibits, is attached hereto as Exhibit A. Plaintiff was
   2   interviewed as a witness in the investigation.
   3         63.    Mr. Love found Dr. Finkenthal and Plaintiff to be credible witnesses.
   4         64.    Notably, this was not the first time Nakajima and Gerwig were found to
   5 engage in discriminatory conduct In 2009 (seven years before Plaintiff worked at the

   6 College), the United States Department of Education's OCR Office found that

   7 Nakajima and Gerwig failed to accommodate a student with a disability. Plaintiff is

   8 informed and believes that instead of imposing any actual discipline for
   9   discriminating against a disabled student, the District required Nakajima and Gerwig
  10 to undergo sensitivity training. Plaintiff is also informed and believes that the District

  11   and prior administrators received other complaints about Nakajima and Gerwig but
  12 that no action was ever taken against them. Further, during the investigation of the

  13   illegal postings, Dr. Finkenthal informed the investigator that shortly after the
  14 sensitivity training, also in 2009, Nakajima refused to accommodate a student who

  15   used a wheelchair and even told the student that he should just take vitamins and
  16 "take care" of himself.

  17         65.    Towards the end ofNovember 2017, Plaintiff met with Dr. Norman to
  18 discuss Nakajima and Gerwig. Plaintiff suggested that in light of Nakajima's and

  19 Gerwig's openly racist and sexually harassing conduct, that they should be

  20 terminated. Dr. Norman indicated that the District would not terminate Nakajima and

  21   Gerwig because the offense did not merit harming their careers and damaging their
  22   livelihood. Plaintiff was disappointed with Dr. Norman's apparent indifference to
  23   ensuring an environment free of discrimination and harassment.
  24         66.    On November 27, 2018, Dr. Norman e-mailed Plaintiff and specifically
  25   instructed Plaintiff to involve Dr. Finkenthal in the oversight of Nakajima and
  26   Gerwig and to have Dr. Finkenthal observe Nakajima and Gerwig so that he could
  27 substantiate any complaints. Dr. Norman further made it clear that the District would
  28

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       not place Nakajima and Gerwig on any type of leave, even paid leave, so as to avoid
   2 doing anything that may "create liability and deviate from our goals and mission."

   3         67.    Dr. Norman's e-mail appeared to request that she wanted Plaintiff and
   4   Dr. Finkenthal to handle overseeing to Nakajima and Gerwig and made it clear that
   5 the Title IX office was afraid to fulfill its responsibilities by taking action to protect

   6 students from Nakajima and Gerwig. As academic dean, Plaintiff responsibilities

   7 related to the instruction of students and administration of academic programs. She

   8 had no power, or responsibility for ensuring that professors comply with anti-

   9   discrimination laws which is an express function of the Human Resources Office,
  10   Student Affairs Office EEO Office and Title IX Office. All Plaintiff could do was
  11   continue to complain to Dr. Norman or Ms. Cohen about further discriminatory or
  12   harassing conduct she discovered in the hope that appropriate action would be taken.
  13         68.   On December 4, 2017, Plaintiff met with Dr. Jack Khan, the Assistant
  14   Superintendent and Vice-President of Instruction to discuss her job duties. In the
  15 meeting, Plaintiff discussed her anxiety with Dr. Khan and expressed concern about

  16   her overwhelming workload, which included duties that are not typically part of the
  17   Dean'sjob. Dr. Kahn assured Plaintiff that she was an "incredibly valuable member
  18   of the team" and that he was dedicated to providing her with his "complete support."
  19 Dr. Kahn also promised that they would meet again to review Plaintiffs schedule

 20 "and discuss strategies to help structure [her] workload better." Dr. Kahn further

 21    stated he "look[ed] forward to continuing" to work together. At no point did Dr.
 22 Kahn indicate that he believed Plaintiff had done anything that would place her job in

 23    danger. To the contrary, Dr. Kahn expressed his overall satisfaction with Plaintiffs
 24 work, confirmed that she was "incredibly valuable," and pledged to accommodate her
 25    medical condition.
 26          69.   On December 12,2017, the District determined that Nakajima and
 27 Gerwig would only be placed on unpaid leave for one month even though they had a
 28 history of discriminatory conduct, were just found not only to have engaged in

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       overtly racist and sexually harassing conduct but also were found to have lied about
   2   their sexist and racist conduct to the investigator. Dr. Kailikole is informed and
   3 believes that this grossly inadequate punishment was part of a pattern and practice by
   4   the District to cover up misconduct by Gerwig and Nakajima, even though it knew
   5 their continued presence in the classroom subjected students, student assistants and

   6 faculty to discriminatory and harassing conduct.
   7     E. The District Takes Adverse Employment Actions Against Plaintiff In
   8         Retaliation For Reporting Harasment And Discrimination And For
   9         Requesting An Accomodation For Her Disability.
  10         70.    On December 14,2017, two days after Nakajima and Gerwig were
  11   essentially excused from punishment and barely a week after she disclosed her
  12 disability, Plaintiff was suddenly placed on involuntary paid leave. Plaintiff was
  13 given no warning and was not given any specific reason for being placed on leave. In
  14 fact, she was escorted out of her office like a criminal, locked out of her e-mail

  15 account and, importantly, instructed not to return to campus or speak with anyone

  16 from the College. The only information Plaintiff was given was that she was

  17 purportedly under investigation for some unspecified "breach of confidential

  18   information." From that point forward, Plaintiff was completely cut-off from the
  19 College.
  20         71.   The District left Plaintiff on paid leave for 5 months without ever
  21   informing her of the specific nature of the charges against her. During the time
  22 Plaintiff was on paid leave, faculty members were falsely told that Plaintiff was on

  23   medical leave. Plaintiff could not do anything about the false information the District
  24 was disseminating about her because the District prohibited her from contacting

  25   anyone at the College.
  26         72.    In January 2018, Dr. Kailikole hired an attorney and throughout January
  27 and February of2018 made repeated attempts to obtain further information about
  28 why she was placed on leave. However, the District refused to provide any

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       substantive information. The only thing the District would disclose to Dr. Kailikole
   2 was that the investigation originated in the Physics and Engineering Department.

   3   When provided with this information, Dr. Kailikole informed the District that she
   4   believed the decision to suddenly place her on leave and investigate her was in
   5 retaliation for reporting Nakajima and Gerwig's misconduct.
   6         73.    On February 27, 2018, the District decided to non-renew Plaintifrs
   7   contract. The District did not provide Plaintiff with any reason whatsoever for the
   8 decision not to renew her contract.
   9         74.    On February 28,2018, the day after her contract was non-renewed
  10   without explanation, Plaintiff was interviewed by the District's investigator about,
  II   among other things, the incident where Nakajima and Gerwig used an airsoft gun in
  12 the classroom.

  13         75.    Plaintiff informed the investigator that Dr. Lisa Norman had asked about
  14 the airsoft gun incident during the investigation of the racially and sexually harassing
  15   conduct by Nakajima and Gerwig. Plaintiff also informed the investigator that she
  16 contacted Dr. Finkenthal with information about that incident to make sure it was not

  17 being used any more. Dr. Finkenthal said he did not think a gun was being used and

  18 requested further information so he could check on it. Accordingly, on or about

  19 December 8, 2017, Plaintiff forwarded Dr. Finkenthal an e-mail about the airsoft gun

  20   incident. Plaintiff is informed and believes that Dr. Norman reviewed this e-mail as
  21   part of a search of Dr. Kailikole's e-mails that was done without Dr. Kailikole's
  22   consent and as part of an effort by the District to look for information to discredit Dr.
  23   Kailikole after she reported Nakajima's and Gerwig's racist and harassing behavior.
  24         76.    Plaintiffs obvious, and only purpose, in forwarding the e-mail about the
  25   gun incident to Dr. Finkenthal was so that Dr. Finkenthal could confirm Nakajima
  26   and Gerwig were following Plaintiffs prior directive not to use the gun in the interest
  27   of student safety. Advising Dr. Finkenthal of the prior incident with the airsoft gun
  28   was also consistent with the recommendation by Lisa Norman, the Assistant

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       Superintendent/Vice President, Human Resources, that she involve Dr. Finkenthal in
   2   her oversight of Nakajima and Gerwig.
   3          77.   When the District's investigator interviewed Plaintiff, he asked her if she
   4 ever agreed with Dr. Finkenthal that he would provide information about the airsoft

   5 gun incident to any person. Plaintiff informed the investigator that she never had any
   6 agreement with Dr. Finkenthal to provide the information to anyone else. The

   7   investigator asked Plaintiff if Dr. Finkenthal ever indicated to her that he intended to
   8 provide the information about the airsoft gun incident to his wife or members of the

   9 District's governing Board or "anything like that." Plaintiff informed the investigator

  10   that Dr. Finkenthal never indicated to her that he planned to provide the information
  11   to anyone else.
  12         78.    On or about March 4, 2018, a faculty member sent Plaintiff an
  13   unsolicited text message informing Plaintiff that Dr. Kahn was telling faculty
  14 members that Plaintiff was not returning. Given that the investigator told her it

  15   would be several weeks before he completed his investigation and would issue his
  16   report, it was clear to Plaintiff that the District had already decided to terminate her
  17 and that it was simply using the investigator to manufacture a purported reason.
  18         79.    On May 2, 2018, nearly two months after it began telling faculty
  19   members that Plaintiff was not returning, Plaintiff received a letter informing that Dr.
  20   Kahn was recommending her termination.
  21         80.    One of the reasons stated for Plaintiffs termination was the absurd and
  22   implausible conclusion by the District's investigator that Plaintiff did not forward Dr.
  23   Finkenthal the information about the gun incident for the logical, obvious and entirely
  24   proper purpose of advising the Chair of the Department of relevant information in
  25   connection with his oversight of two Professors who had just been found guilty of
  26   grossly improper racist and harassing conduct in the classroom. Instead, the
  27   investigator claims, Plaintiff was actually part of a conspiracy to leak confidential
  28   information outside the College. According to the investigator's report, the full

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       extent of the alleged conspiracy was that Plaintiff would forward the e-mail to Dr.
   2 Finkenthal, who would then forward the e-mail to his wife. The only "evidence"
   3   cited in support of this ridiculous conclusion is that, three days after Plaintiff
   4 forwarded the e-mail about the gun incident to Dr. Finkenthal, Dr. Finkenthal forward
   5 the e-mail to his wife. Of course, Plaintiff had no idea that Dr. Finkenthal forwarded
   6 the e-mail to his wife or anyone else, and she certainly did not ask him to do it.

   7   Indeed, there is a complete lack of evidence that Plaintiff was involved in any such
   8 "conspiracy." The very idea that Plaintiff conspired with Dr. Finkenthal to expose

   9 Nakajima's and Gerwig's misdeeds to Dr. Finkenthal's wife is nonsensical.

  10 Accordingly, Plaintiff is informed and believes that the alleged leak "conspiracy" was
  11   manufactured to try to cover up the true, discriminatory and retaliatory reasons for
  12 Plaintiff's termination.
  13         81.    Notably, the investigator's report does not list a specific person who
  14   made a complaint about Dr. Kailikole. Instead the report simply states that it was
  15   "internally generated at the request of Human Resources." Further, the investigator
  16 interviewed only two witnesses, Plaintiff and Dr. Finkenthal. He did not interview

  17 anyone from the Human Resources department even though someone in the
  18   department purportedly originated the complaint. The investigator also did not
  19   collect or review any documents related to the origins of the investigation.
  20         82.    In addition to the absurd allegation that she conspired to leak
  21   confidential information to Dr. Finkenthal 's wife, the May 2, 2018 letter
  22 recommending Plaintiff's termination contains a list alleged of performance issues,
  23   none of which were ever presented to Plaintiff as potential reasons for any type of
  24 discipline, let alone termination.
  25         83.    To add insult to injury, as an additional purported reason for the
  26 termination, the District stated Plaintiff purportedly failed to appropriately monitor
  27 Nak.aiima and Gerwig. This reason is false and pretextual on its face, given that
  28   Plaintiff was the first Dean to actually risk exercising any supervision over Nakajima

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       and Gerwig, including complaining about their overtly racist and sexually harassing
   2   conduct by reporting it to the Title IX Office, which is responsible for enforcing
   3   compliance with anti-discrimination laws and policies, only to see the District
   4   willfully fail to take any real action. Plaintiff is informed and believes that the
   5   District was angered and embarrassed by Plaintiff's reporting of, and testimony
   6 about, the harassing conduct by Nakajima and Gerwig because it required the District
   7 to take action against tenured professors which risked raising suspicions and
   8 questions by students and faculty if they were punished appropriately, such as by
   9 termination or placement on an extensive leave. Plaintiff is further informed and

  I0 believed that the District wanted to punish Plaintiff for suggesting that the
  II   investigation of her was pretextual and was carried out to provide false support for
  12 the District's retaliatory adverse employment action in placing her on involuntary

  13 leave.
  14          84.   On June 13, 2018, the District terminated Plaintiffs employment.
  15          85.   The District's decisions to place Plaintiff on paid leave, non-renew her
  16 contract and terminate her were all clearly made to retaliate against her for

  17 complaining about Nakajima's and Gerwig's illegal conduct, which it quickly swept

  18 under the rug by issuing a disproportionately light penalty they served over winter

  19   break, for reporting that the purported investigation of the "confidentiality" issue was
  20   pretextual and done in retaliation for reporting Nakajima and Gerwig, to retaliate and
  21   discriminate against Plaintiff for, and to avoid accommodating, Plaintiffs mental
  22   health disability. Indeed, until the District was forced to deal with Plaintiff's
  23 disability and her complaint about Nakajima and Gerwig's conduct and the
  24   investigation, she was never given any indication that her job -to which she had
  25   recently been promoted - was in any danger whatsoever.
  26          86.   Prior to being suddenly placed on leave, Plaintiff had a reputation at the
  27 College as a strong leader, an advocate for students, a talented fundraiser, and, above
  28   all, an educator dedicated to the College's mission. Plaintiff was completely

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   1   humiliated by her sudden removal from campus, the non-renewal of her contract and
   2   being subjected to a sham investigation that was used to support her illegal
   3 termination in retaliation for raising the embarrassing issue of racism and sexual

   4 harassment in the classroom, to discriminate against Plaintiff for, and to avoid
   5 accommodating, Plaintiffs mental health disability. As a result of this illegal

   6 conduct, and specifically the adverse employment actions carried out by the District
   7   in placing Plaintiff on involuntary leave, non-renewing her contract and terminating
   8 her, Plaintiff has suffered lost back wages and benefits, lost future earnings and
   9 benefits, lost promotions, extreme amounts of emotional distress and other damages.
  10                                           COUNT I
  II                       Retaliation in Violation of 20 U.S.C. § 1681
  12                     (Against the District and DOES 1 through 20).
  13         87.    Plaintiff incorporates by reference each and every paragraph in the
  14 Complaint as if set forth fully herein.
  15         88.    The District is an educational program receiving Federal financial
  16 assistance and is subject to the provisions ofTitle IX of the Education Amendments

  17 of 1972, as amended, 20 U.S.C. Section 1681 et seq. (hereinafter "Title IX").

  18         89.     Title IX provides that "[n]o person in the United States shall, on the
  19 basis of sex, be excluded from participation in, be denied the benefits of, or be

  20 subjected to discrimination under any education program or activity receiving Federal

  21   financial assistance." 20 U.S.C. § 618l(a). Title IX also prohibits retaliatory
  22 employment actions based on an employee's complaints about sex discrimination.

  23   Jackson v. Birmingham, 544 U.S. 167 (2005).
  24         90.    Plaintiff engaged in statutorily protected activity under Title IX when
  25   she complained about sex discrimination by Nakajima and Gerwig by reporting it to
  26   the District and participated in the investigation thereof and when she reported her
  27   belief that she was placed on leave in retaliation for reporting sex discrimination by
  28 Nakajima and Gerwig.

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              91.    As a direct and proximate cause of Plaintiff engaging the protected
   2   activity under Title IX, Defendants engaged in adverse employment actions against
   3 Plaintiff, which were to place her on paid leave, non-renew her contract and terminate

   4 her employment.
   5          92.    There is a causal link between Plaintiff participating in a statutorily
   6 protected activity under Title IX and Defendants' adverse employment actions
   7 against her.
   8          93.    Defendants' violations of Title IX have proximately caused Plaintiff to
   9 suffer damages including, but not limited to, back wages, future wages, lost benefits,
  10 severe emotional distress and other pecuniary and non-pecuniary losses in an amount

  11   to be proven at trial.
  12         94.    The actions of Defendants complained of herein were taken with malice,
  13   oppression and fraud, in conscious disregard of Plaintiffs rights, and with the
  14 malicious intent of injuring Plaintiff, who is therefore entitled to punitive or

  15 exemplary damages according to proof at trial.

  16         95.     As a result of Defendants' conduct, Plaintiff is also entitled to attorneys'
  17 fees and costs as provided by 42 U.S.C. section 1988 or other applicable law.

  18                                             COUNT II
  19                     Retaliation in Violation of 42 U.S.C. 2000d et seq.
  20                            (Against the District and DOES 1-20)
  21         96.    Plaintiff incorporates by reference each and every paragraph in this
  22   Complaint as if set forth fully herein.
 23          97.    Title VI ofthe Civil Rights Act of 1964 (42 U.S.C. 2000d et seq.) ("Title
  24   VI") prohibits discrimination on the basis of race, color, or national origin in
  25   programs or activities receiving federal financial assistance. The District receives
 26 federal financial assistance and is subject to Title VI. As with Title IX and other
  27 federal discrimination statutes, there is an implied right of action for retaliatory
  28   employment actions based on an employee's complaints about race discrimination.

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              98.     Plaintiff engaged in statutorily protected activity under Title VI when
   2   she complained about race and national origin discrimination by Nakajima and
   3   Gerwig by reporting it to the District and participated in the investigation thereof and
   4 when she reported her belief that she was placed on leave in retaliation for reporting
   5 race and national origin discrimination by Nakajima and Gerwig.
   6          99.     As a direct and proximate cause of Plaintiff engaging the protected
   7 activity under Title VI, Defendants engaged in adverse employment actions against

   8 Plaintiff, which were to place her on paid leave, non-renew her contract and terminate

   9 her employment.

  10          100. There is a causal link between Plaintiff participating in a statutorily
  11   protected activity under Title VI and Defendants' adverse employment actions
  12   against her.
  13          101. Defendants' violations of Title VI have proximately caused Plaintiff to
  14   suffer damages including, but not limited to, back wages, future wages, lost benefits,
  15   severe emotional distress and other pecuniary and non-pecuniary losses in an amount
  16   to be proven at triaL
  17         102. The actions of Defendants complained of herein were taken with malice,
  18   oppression and fraud, in conscious disregard ofPlaintiff's rights, and with the
  19   malicious intent of injuring Plaintiff, who is therefore entitled to punitive or
  20   exemplary damages according to proof at trial.
  21         103. The actions of Defendants complained of herein were taken with malice,
  22 oppression and fraud, in conscious disregard of Plaintiff's rights, and with the
  23   malicious intent of injuring Plaintiff, who is therefore entitled to punitive or
  24   exemplary damages according to proof at trial.
  25         104. As a result of Defendants' conduct, Plaintiff is also entitled to attorneys'
  26   fees and costs as provided by 42 U.S.C. section 1988 or other applicable law.
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                                             COUNT III
   2                 Retaliation in Violation of Government Code § 12940(h)
   3                           (Against the District and DOES 1-20)
   4          105. Plaintiff incorporates by reference each and every paragraph in this First
   5 Amended Complaint as if set forth fully herein.
   6          106. At all times relevant herein, Government Co~e section 12940 et seq. was
   7 in full force and effect and binding upon each of Defendants. Section 12940(h)

   8 prohibits retaliation against any person who makes a complaint for harassment and/or

   9 discrimination on the basis of race, sex and/or national origin. Plaintiff is informed

  10 and believes that students, student assistants employed by the District and faculty
  11   who were members of a protected class, including females, Iatinos and other minority
  12 groups, were subjected to the harassing and discriminatory postings by Nakajima and

  13 Getwig.

  14         107. Defendant retaliated against Plaintiff for complaining about the
  15 discriminatory and harassing conduct alleged herein which she reasonably believed to
  16 constitute discrimination and/or harassment on the basis of race, national origin, sex

  17 and/or gender and for reporting her belief that she was placed on leave in retaliation

  18 for reporting discriminatory and harassing conduct. Specifically, in retaliation for

  19 reporting the discriminatory and harassing conduct herein, Defendant engaged in

  20 adverse employment actions against Plaintiff, which were to place her on paid leave,

  21   non-renew her contract and terminate her employment.
  22         108. As a proximate result of Defendants' violation of Government Code
  23   section 12940(h), Plaintiff has suffered the loss of wages, salary, benefits and
  24 additional monies Plaintiff would have received if she was not terminated in violation
  25   of Government Code section 12940(h), including future earnings. As a further
  26 proximate result of the violation of Government Code section 12940(h), Plaintiff has
  27 suffered, and will continue to suffer, humiliation, mental anguish, and emotional and
  28 physical duress. As a result of such violation of Government Code section 12940(h)

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       and consequent harm, Plaintiff suffered damages in an amount according to proof at
   2   trial.
   3            109. The actions of Defendant's complained of herein were taken with
   4   malice, oppression and fraud, in conscious disregard of Plaintiffs rights, and with the
   5 malicious intent of injuring Plaintiff, who is therefore entitled to punitive or
   6 exemplary damages according to proof at trial.
   7            110. As a result of Defendants' conduct, Plaintiff is also entitled to attorneys'
   8   fees and costs as provided by Government Code section 12965(b).
   9                                           COUNTIV
  10      Disability Discrimination in Violation of Government Code section 12940(a)
  11                             (Against the District and DOES 1-20)
  12            111. Plaintiff re-alleges and incorporates by reference each and every
  13 allegation set forth in the preceding paragraphs of the Complaint.

  14            112.   Under the Fair Employment and Housing Act ("FEHA") codified in
  15 Government Code § 12940 et seq., it is unlawful for an employer to discriminate

  16 against an employee on the basis of the employee's disability and/or perceived

  17 disability.
  18            113. As a result of her disability, including anxiety, Plaintiff is a disabled
  19 individual under FEHA in that her major life activities are limited. Defendants knew

  20 that Plaintiff was disabled because she told Jack Khan that she suffered from anxiety

  21   and he pledged to support her with that issue.
  22            114. Defendants engaged in unlawful employment practices in violation of
  23   FEHA by, among other things, failing to accommodate Plaintiff on the basis of her
  24   disability, failing to engage in the interactive process, retaliating against her for
  25   disclosing her disability, placing her on paid leave, stripping her of her duties, non-
  26   renewing her contract and terminating her.
  27
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              115. Plaintiff is informed and believes and based thereon alleges that her
   2   disability was a motivating factor in Defendants' decision to place her on paid leave
   3   and strip her of her duties, non-renew her contract and terminate her.
   4          116.   Defendants' violations of FEHA have proximately caused Plaintiff to
   5 suffer damages including, but not limited to, back wages, future wages, lost benefits,

   6   severe emotional distress and other pecuniary and non-pecuniary losses in an amount
   7 to be proven at trial.

   8          117. The actions of Defendants complained of herein were taken with malice,
   9 oppression and fraud, in conscious disregard ofPlaintifrs rights, and with the
  10 malicious intent of injuring Plaintiff, who is therefore entitled to punitive or

  11   exemplary damages according to proof at trial.
  12          118. As a result of Defendants' conduct, Plaintiff is also entitled to attorneys'
  13 fees and costs as provided by Government Code section 12965(b) or other applicable

  14 law.

  15                                          COUNTY
  16    Failure to Accommodate Disability and Retaliation in Violation of Government
  17                                      Code§ 12940(m)
  18                           (Against the District and DOES 1-20)
  19         119. Plaintiff incorporates by reference each and every paragraph in this First
  20   Amended Complaint as if set forth fully herein.
  21         120. Government Code section 12940(m) provides that it is unlawful for an
  22   employer to fail to make reasonable accommodations for the known physical
  23   disability ancl/or perceived disability of an employee, or to retaliate or discriminate
  24   against an employee for requesting a reasonable accommodation.
  25         121. Defendants failed to make a reasonable accommodation for Plaintifrs
  26   known disability and/or perceived disability and retaliated and discriminated against
  27 Plaintiff for requesting a reasonable accommodation.
  28

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              122. Defendants' failure to provide a reasonable accommodation, and
   2   retaliation and discrimination against her for requesting a reasonable accommodation.
   3   proximately caused Plaintiff to suffer damages including, but not limited to, back
   4   wages, future wages, lost benefits, severe emotional distress and other pecuniary and
   5 non-pecuniary losses in an amount to be proven at trial.

   6          123. The actions of Defendants complained of herein were taken with malice,
   7 oppression and fraud, in conscious disregard of Plaintiffs rights, and with the

   8 malicious intent of injuring Plaintiff, who is therefore entitled to punitive or

   9   exemplary damages according to proof at trial.
  10         124. As a result of Defendants' conduct, Plaintiff is also entitled to attorneys'
  11   fees and costs as provided by Government Code section 12965(b) or other applicable
  12 law.

  13                                         COUNT VI
  14    Failure to Engage in the Interactive Process in Violation of Government Code
  15                                      section 12940(n)
  16                           (Against the District and DOES 1-20)
  17         125. Plaintiff incorporates by reference each and every paragraph in this
  18 Complaint as if set forth fully herein.
  19         126. Government Code section 12940(n) provides that it is unlawful for an
 20    employer to fail to engage in a timely, good faith, interactive process with a disabled
 21    employee to determine effective reasonable accommodations, if any.
 22          127. Defendants failed to engage in the interactive process with Plaintiff in
 23    order to accommodate Plaintifrs disability and/or perceived disability.
 24          128. Defendants' failure to engage in the interactive process proximately
 25    caused Plaintiff to suffer damages including, but not limited to, back wages, future
 26    wages, lost benefits, severe emotional distress and other pecuniary and non-pecuniary
 27    losses in an amount to be proven at trial.
 28

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              129. The actions of Defendants complained of herein were taken with malice,
   2 oppression and fraud, in conscious disregard of Plaintiff's rights, and with the

   3 malicious intent of injuring Plaintiff, who is therefore entitled to punitive or

   4 exemplary damages according to proof at trial.
   5          130. As a result of Defendants' conduct, Plaintiff is also entitled to attorneys'
   6 fees and costs   as provided by Government Code section 12965(b) or other applicable
   7   law.
   8                                        COUNTVII
   9                     Retaliation In Violation Of Labor Code§ 1102.5
  10                             (Against the District and DOES 1-20)
  II          13 1. Plaintiff incorporates by reference each and every paragraph in this
  12 Complaint as if set forth fully herein.

  13          132. Title IX provides that "[n]o person in the United States shall, on the
  14 basis of sex, be excluded from participation in, be denied the benefits of, or be

  15 subjected to discrimination under any education program or activity receiving Federal

  16 financial assistance." 20 U.S.C. § 618l(a). Title IX also prohibits retaliatory
  17 employment actions based on an employee's complaints about sex discrimination.

  18 Jackson v. Birmingham, 544 U.S. 167 (2005).

  19          133. Title VI prohibits discrimination on the basis of race, color, or national
  20 origin in programs or activities receiving federal financial assistance.
 21           134. Section 12940(h) prohibits retaliation against any person who makes a
  22   complaint for harassment and/or discrimination on the basis of race, sex and/or
 23    national origin and Section 12940(m) prohibits retaliation for requesting a reasonable
  24 accommodation for a disability.
  25          135. It is the public policy of the State of California to prevent discrimination
 26 on the basis of sex, race and national origin and to prevent retaliation against persons

  27   who report retaliation.
  28

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              136. Under Labor Code section 1102.5, employers and individuals are
   2   prohibited from retaliating against an employee for:
   3         disclosing information ... to a person with authority over the employee
   4         or another employee who has the authority to investigate, discover, or
   5         correct the violation or noncompliance ... if the employee has
   6         reasonable cause to believe that the information discloses a violation of
   7         state or federal statute, or a violation of or noncompliance with a local,
   8         state, or federal rule or regulation... regardless of whether disclosing the
   9         information is part of the e1npl oyee' s job duties.'~
  10         137. The District violated Labor Code section 1102.5 for the same reasons it
  11   violated Title IX, Title VI and California Government Code section 12940(h), which
  12 is that it retaliated against her for complaining about the sexually harassing and

  13   racially discriminating conduct by Nakajima and Gerwig by reporting it to the
  14 District. Specifically, Defendants engaged in adverse employment actions against

  15 Plaintiff, which were to place her on paid leave, non-renew her contract and tenninate

  16 her employment.
  17         138. As a proximate result of Defendants' violation of Labor Code section
  18   1102.5, Plaintiff has suffered the loss of wages, salary, benefits and additional monies
  19 Plaintiff would have received if she was not terminated in violation ofLabor Code
 20 section 1102.5, including future earnings. As a further proximate result of the
 21    violation of Labor Code section 1102.5, Plaintiff has suffered, and will continue to
 22    suffer, humiliation, mental anguish, and emotional and physical duress. As a result
 23 of such violation of Labor Code section 1102.5 and consequent harm, Plaintiff has
 24    suffered damages in an amount according to proof at trial.
 25          139. The actions of Defendant complained of herein were taken with malice,
 26    oppression and fraud, in conscious disregard of Plaintiffs rights, and with the
  27   malicious intent of injuring Plaintiff, who is therefore entitled to punitive or
  28   exemplary damages according to proof at trial.

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                    EXHAUSTION OF ADMINISTRATIVE REMEDIES UNDER
   2                         GOVERNMENT CODE SECTION 1265(b)
   3                  Plaintiff has exhausted her administrative remedies under Government
   4   Code section 12965(b). A copy of Plaintifrs Complaint with, and Right to Sue Letter
   5 from, the DFEH is attached hereto as Exhibit B.

   6                                DEMAND FOR JURY TRIAL
   7                  Plaintiff hereby requests a trial by jury.
   8                                    PRAYER FOR RELIEF
   9         Plaintiff prays for judgment against Defendants as follows:
  10         I.       For general and special damages;
  11         2.       For backpay and front pay;
  12         3.       For emotional distress and pain and suffering damages.
  13         4.       For nominal and compensable damages;
  14         5.       For punitive damages;
  15         6.       For pre-judgment and post-judgment interest where allowable;
  16         7.       For an injunction and declaratory relief where applicable;
  17         8.       For costs of suit and expenses;
  18         9.       For reasonable attorneys' fees; and
  19         I 0.     For such other and further relief as this Court may deem just and proper.
 20    Respectfully submitted,
  21

 22    Dated: January 18, 20 19                         DWIN LEGAL, APC
  23

 24                                                     By:   /s/ Evan Dwin
                                                                 Evan Dwtn
  25                                                    Attorneys for PlaintiffKATHRYN
  26                                                    KAILIKOLE
  27
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